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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,            )       No.    1:10-CR-00347 LJO
                                          )
12                Plaintiff,              )       STIPULATION AND
                                          )       PROTECTIVE ORDER BETWEEN THE
13                v.                      )       UNITED STATES AND NAMED
                                          )       DEFENDANTS
14   BRAD WILLIAM HESSE,                  )
     DAVID BOYD SPIVEY,                   )
15   MICHAEL IAN CONWAY, and              )
     MICHELLE LEE PRINCE,                 )
16                                        )
                  Defendants.             )
17                                        )
                                          )
18                                        )
                                          )
19

20           WHEREAS, the discovery in this case is voluminous and contains

21   a large amount of personal information including but not limited to

22   Social Security numbers, dates of birth, driver’s license numbers,

23   bank account numbers, telephone numbers, and residential addresses

24   (“Protected Information”); and

25           WHEREAS, the parties desire to avoid both the necessity of

26   large     scale   redactions   and       the       unauthorized   disclosure   or

27   dissemination of this information to anyone not a party to the court

28   proceedings in this matter;

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 1        The parties agree that entry of a stipulated protective order

 2   is appropriate.

 3        THEREFORE, defendant MICHELLE LEE PRINCE, by and through her

 4   counsel of record (“Defense Counsel”), and plaintiff the United

 5   States of America, by and through its counsel of record, hereby

 6   agree and stipulate as follows:

 7        1.     This Court may enter protective orders pursuant to Rule

 8   16(d) of the Federal Rules of Criminal Procedure, and its general

 9   supervisory authority.

10        2.     This Order pertains to all discovery provided to or made

11   available to Defense Counsel as part of discovery in this case

12   (hereafter, collectively known as “the discovery”).

13        3.     By signing this Stipulation and Protective Order, Defense

14   Counsel agree not to share any documents that contain Protected

15   Information with anyone other than Defense Counsel and designated

16   defense investigators and support staff.         Defense Counsel

17   may permit each defendant to view unredacted documents in the

18   presence of his attorney, defense investigators, and support staff.

19   The parties agree that Defense Counsel, defense investigators, and

20   support staff shall not allow the defendants to copy Protected

21   Information contained in the discovery.           The parties agree that

22   Defense    Counsel,   defense   investigators,   and   support    staff   may

23   provide the defendants with copies of documents from which Protected

24   Information has been redacted.

25        4.     The discovery and information therein may be used only in

26   connection with the litigation of this case and for no other

27   purpose.    The discovery is now and will forever remain the property

28   of the United States Government.         Defense Counsel will return the

                                          2
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 1   discovery to the Government or certify that it has been shredded at

 2   the conclusion of the case.

 3            5.      Defense Counsel will store the discovery in a secure place

 4   and will use reasonable care to ensure that it is not disclosed to

 5   third persons in violation of this agreement.

 6            6.      Defense Counsel shall be responsible for advising his

 7   respective defendant, employees, and other members of the defense

 8   team, and defense witnesses of the contents of this

 9   Stipulation and Order.

10            7.      In   the   event   that    a       defendant   substitutes   counsel,

11   undersigned Defense Counsel agrees to withhold discovery from new

12   counsel unless and until substituted counsel agrees also to be bound

13   by this Order.

14            IT IS SO STIPULATED.

15   DATED: September 7, 2010                   By:         /s/ Anthony P. Capozzi
                                                              ANTHONY P. CAPOZZI
16                                                       Attorney for Defendant,
                                                         MICHELLE LEE PRINCE
17

18   DATED: September 15, 2010                           BENJAMIN B. WAGNER
                                                         United States Attorney
19

20                                               By:        /s/ Mark J. McKeon
                                                         MARK J. McKEON
21                                                       Assistant U.S. Attorney

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24            IT IS SO ORDERED.

25   IT IS SO ORDERED.

26   Dated:        September 17, 2010           /s/ Lawrence J. O'Neill
     b9ed48                                 UNITED STATES DISTRICT JUDGE
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